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11    Attorneys for Plaintiff,
      JAMES SHAYLER
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13
                           UNITED STATES DISTRICT COURT
14
                         CENTRAL DISTRICT OF CALIFORNIA
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17
      JAMES SHAYLER, an individual,            Case No.: 2:20-cv-11107-FMO-GJS
                   Plaintiff,
18                                             Hon. Fernando M. Olguin
19
            v.
20                                             PLAINTIFF’S NOTICE OF
21    HB MAT PROPERTIES, a California          MOTION AND MOTION FOR
      limited liability company; and Does 1-   SUMMARY JUDGMENT
22
      10,
23                                             Date: December 9, 2021
                   Defendants.                 Time: 10:00 a.m.
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                                               Courtroom: 6D
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                                      1            Case No. 2:20-cv-11107-FMO-GJS
       __________________________________________________________________
            PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                                   JUDGMENT
     Case 2:20-cv-11107-FMO-GJS Document 49 Filed 11/09/21 Page 2 of 3 Page ID #:781



 1    To all parties and to their attorneys of record:
 2
            PLEASE TAKE NOTICE that Plaintiff James Shayler (“Plaintiff”) hereby
 3

 4    moves this Court to enter summary judgment in favor of Plaintiff and against
 5
      Defendant HB Mat Properties, LLC (“Defendant”). This Motion for Summary
 6

 7
      Judgment will be heard on December 9, 2021, at 10:00 a.m., before the Honorable

 8    Fernando M. Olguin, in Courtroom 6D of the above-captioned court, located at 350
 9
      West 1st Street, Los Angeles, California 90012.
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11          Plaintiff seeks an order from the Court requiring Defendant to comply with
12
      the Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights
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      Act (“UCRA”), and to remediate all existing accessibility violations, including to

15    provide and maintain accessible routes of travel, signage, parking, and business
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      interior, at the property located 1200 Pacific Coast Hwy, Hermosa Beach,
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18    California 90254 (the “Property”). Plaintiff also seeks a judgment in favor of
19
      Plaintiff and against Defendant in the amount of $16,000, for statutory damages
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21
      under the UCRA.

22          This motion is made on the grounds that there is no genuine dispute as to
23
      any material fact, and Plaintiff is entitled to judgment as a matter of law.
24

25    Plaintiff’s motion is brought pursuant to Rule 56 of the Federal Rules of Civil
26
      Procedure, and is supported by this Notice of Motion and Motion, the
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      Memorandum of Points and Authorities, the Statement of Uncontroverted Facts
                                      2            Case No. 2:20-cv-11107-FMO-GJS
       __________________________________________________________________
            PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                                   JUDGMENT
     Case 2:20-cv-11107-FMO-GJS Document 49 Filed 11/09/21 Page 3 of 3 Page ID #:782



 1    and Conclusions of Law (Joint Appendix of Undisputed and Disputed Facts), the
 2
      Declaration of James Shayler, the Declaration of Dr. McCloy, the Declaration of
 3

 4    John Battista, the Declaration of Anoush Hakimi, the Declaration of Marc
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      Friedlander, and Plaintiff’s Exhibits, all filed concurrently herewith, the record and
 6

 7
      files herein, and such other evidence as may be admitted at the time of the hearing

 8    of the motion.
 9
            This motion is made following the conference of counsel, which took place
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11    on September 2, 2021, pursuant to L.R. 7-3.
12
      Dated: November 9, 2021                THE LAW OFFICE OF HAKIMI & SHAHRIARI
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14
                                       By:    /s/ Anoush Hakimi
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                                             ANOUSH HAKIMI, ESQ.
16                                           Attorney for Plaintiff James Shayler
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                                      3            Case No. 2:20-cv-11107-FMO-GJS
       __________________________________________________________________
            PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR SUMMARY
                                   JUDGMENT
